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 6
                                UNITED STATES DISTRICT COURT
 7
                                     DISTRICT OF ARIZONA
 8
 9    United States of America,

10                 Plaintiff,                              CR-08-814-02-PHX-DGC
            v.
11    Ransom Marian Carter, III,                                    ORDER
12                 Defendant.
13
14
15         The government having filed a motion to continue the sentencing, without opposition by

16   defendant, and good cause appearing,

17         IT IS ORDERED that defendant’s sentencing is continued from Monday, July 18, 2011,

18   at 4:00 p.m. to _________________________________, 2011 at _________.

19         Excludable delay under 18 U.S.C. 3161(h) _______ is found to commence on

20   _______________ for a total of ________ days.

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